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 1                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
 2                        CHARLOTTESVILLE DIVISION

 3   *************************************************************

 4   ELIZABETH SINES, ET AL.,      CIVIL CASE NO.: 3:17CV72
                                   OCTOBER 20, 2021, 3:00 PM
 5                                 PRETRIAL CONFERENCE VIA ZOOM
               Plaintiffs,
 6   vs.

 7                                 Before:
                                   HONORABLE NORMAN K. MOON
 8                                 UNITED STATES DISTRICT JUDGE
     JASON KESSLER, ET AL.,        WESTERN DISTRICT OF VIRGINIA
 9
               Defendants.
10
     *************************************************************
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25   TRANSCRIPT PRODUCED BY COMPUTER.
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 1   (Proceedings commenced, 3:00 PM)

 2               THE COURT:    Heidi, you may call the case.

 3               THE CLERK:    Yes, Your Honor.    This is Civil Action

 4   Number 3:17CV72; Elizabeth Sines and others versus Jason

 5   Kessler and others.

 6               THE COURT:    Okay.    Are the plaintiffs ready?

 7               MS. DUNN:    Yes, we are, Your Honor.

 8               THE COURT:    Defendants ready?

 9               MR. KOLENICH:    Yes, Your Honor.

10               MR. CANTWELL:    No.    I'm not sure exactly what's

11   happening here.

12               THE COURT:    Who is speaking?

13               MR. CANTWELL:    Mr. Cantwell.    This is Christopher

14   Cantwell.

15               THE COURT:    Okay.    Well, we're having another

16   pretrial hearing, and we're just going to discuss the issues

17   I'm going to refer to in a few minutes.

18               I will remind everyone that under Standing Order

19   2020-12, the Court's prohibition against recording and

20   broadcasting court proceedings remains in force.        Attorneys,

21   parties, or staff or members of the public or press accessing

22   this hearing today may not record or broadcast it.

23               I plan to raise the following issues:      One, some

24   reminders --

25               (Technical interruption.)
                                                                                5
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 1                I plan to raise the following issues:    Some reminders

 2   about limited access to the courthouse during trial and updates

 3   regarding jury questionnaires; and a time to potentially

 4   resolve some for-cause strikes; and three, a number of

 5   Mr. Cantwell's outstanding motions in limine and other matters

 6   he has raised.

 7                Before we move into other aspects of the hearing --

 8   all right.     Whoever is talking, please mute your sound.

 9                Before we move into other aspects of the hearing, let

10   me remind the parties here and their counsel and for the

11   benefit of any members of the public that are interested in

12   this case, that the Court has ruled that for the upcoming

13   trial -- and this is because of the space limitations

14   primarily -- members of the public will not be permitted in the

15   courthouse during this trial.     And if you show up thinking you

16   can come in, you'll be disappointed.      Instead -- and it's more

17   convenient -- any interested members of the public will be able

18   to listen to live audio by calling into a dial-in line that

19   will be on the court's public website.      Courthouse access is

20   limited to the parties, litigants themselves, their counsel of

21   record, witnesses, jurors, courthouse staff and security, and

22   those members of the press who have submitted applications for

23   press credentials that have been approved.      And that's it.     The

24   Court has issued orders so limiting physical entry into the

25   courthouse and facilitating public access by these other means,
                                                                                6
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 1   audio dial-in and press access, so as to ensure that the case

 2   can proceed to trial in these extraordinary circumstances given

 3   the still ongoing COVID-19 pandemic, among other reasons

 4   described in my orders.

 5             I should say -- and I intend to issue a written order

 6   to this effect -- that the pretrial conference on Friday,

 7   October 22nd, will also be limited to these groups.

 8             Next I wanted to provide an update on the jury

 9   questionnaires.    Yesterday the clerk's office received requests

10   from four defense counsel to get access to redacted jury

11   questionnaires.    I understand these are Bryan Jones, Elmer

12   Woodard, David Campbell, and Mr. ReBrook.      Are there any other

13   lawyers from the defense side who should be designated as

14   getting access to those, subject to the Court orders on

15   maintaining their confidentiality?

16             MR. SPENCER:     This is Richard Spencer.    I would like

17   access to those.

18             THE COURT:     Well, we have issued other instructions

19   so that anyone who is not represented by counsel will have

20   access to them through the clerk's office.

21             A question for plaintiffs' counsel:       I'm informed by

22   the clerk we haven't gotten any designated counsel or third

23   parties from you who will be getting access to the redacted

24   questionnaires.    The Court entered an order yesterday which

25   should have clarified the question raised about potential
                                                                                7
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 1   third-party access.       Who from plaintiff's side should get

 2   electronic access to these?

 3                MS. DUNN:    Your Honor, we will get you our list of

 4   six right after this hearing, and we appreciated the Court's

 5   order yesterday.

 6                THE COURT:    All right.   If you would let the clerk

 7   have that.

 8                Those approved designated should now have access to a

 9   large amount of the redacted jury questionnaires.        I anticipate

10   the remaining questionnaires we receive will be made available

11   by tomorrow morning.       We get a few more each day.   The clerk's

12   office is doing a great job making them available.        The juror

13   occupation list, a separate confidential document, will be made

14   available as well.

15                For our pro se defendants, the Court will make

16   available hard copies of the redacted questionnaires and a

17   juror occupation list at the pretrial conference, and then

18   again for use at the trial.       The Court has required, and will

19   require, any pro se party to sign a declaration under penalty

20   of perjury that the information contained in those

21   questionnaires will not be disclosed to anyone else.

22                I did want to raise the issue about excusal requests

23   and to discuss potentially setting a time to consider any

24   strikes for cause before Monday, because there are some on the

25   questionnaires I think that obviously we could get rid of.
                                                                                8
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 1             Now, regarding excusal requests, the Court has

 2   received --

 3             (Technical interruption.)

 4             MR. SPENCER:     Does that indicate that someone is

 5   recording this call using the voice system?

 6             THE COURT:     Can you silence that, Heidi?

 7             THE CLERK:     Yes, Your Honor, I muted it.     It appeared

 8   that someone was trying to dial in.

 9             THE COURT:     All right.   The Court intends to excuse

10   them all based on the circumstances present in those requests,

11   as they have amply presumed a showing of undue hardship or

12   extreme inconvenience.     Four of those requests -- I mean, we're

13   of course maintaining the jury questionnaires.       Four of those

14   requests were from doctors or medical professionals.        Two would

15   not have been able to sit for personal health reasons.        Four of

16   those requests were for people having active care and custody

17   of a child under 10 who could not serve without jeopardizing

18   the child's health, or were essential to care of an aged or

19   infirmed person.     And six were from persons who were essential

20   to their businesses, such that their absence would mean it

21   would close or cease to function or otherwise cause extreme

22   inconvenience.     And all of those are reasons that persons are

23   entitled to be excused.     Unless I am mistaken, I do not believe

24   that any questionnaires coming along with those excusal

25   requests were included in the lists of questionnaires that may
                                                                                9
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 1   have been made available to the parties.        I believe we now have

 2   about 110 returned questionnaires, and we'll get more every

 3   day, and others jurors may show up with theirs in hand on

 4   Monday.

 5             The Court plans to have a jury of 12.        I thought we

 6   could raise -- or allot some time at Friday's pretrial

 7   conference to the issue of any strikes for cause that you may

 8   wish to raise at that time.        If any are raised at that time, we

 9   could go through by juror number and raise potential strikes

10   for cause so as to reduce the number of prospective jurors

11   actually showing up, as they would otherwise perhaps be

12   disqualified.   And I'm just talking now about some people who

13   are obviously not qualified, or I think that we could all

14   excuse that should be excused.

15             Plaintiffs' counsel, any comments with regard to that

16   matter?

17             MS. DUNN:     No, Your Honor.

18             THE COURT:     All right.     Any of the defendants?

19             MR. CAMPBELL:        Judge, very briefly, Dave Campbell for

20   Defendant Fields.     I just want to make sure if we don't raise a

21   number on Friday, does that waive the right --

22             THE COURT:     No.

23             MR. CAMPBELL:        -- to raise numbers for cause on

24   Monday?

25             THE COURT:     No, absolutely not.
                                                                             10
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 1             MR. CAMPBELL:     Thank you, Your Honor.

 2             THE COURT:     Any pro se --

 3             MR. SPENCER:     I have no problem.

 4             THE COURT:     Okay.   Mr. Campbell, you will be in the

 5   courtroom on Friday for the pretrial conference.

 6             Lastly on my agenda, I'll turn to a number of motions

 7   filed by Mr. Cantwell.     Mr. Cantwell, you have filed -- you

 8   have been prolific in your filings over the past month.           By my

 9   count, I think 24 motions were filed that remain pending.           The

10   plaintiffs point out in your briefing and motions you write

11   that you got help from others who were not lawyers, not counsel

12   of record for you in this case.       It appears that most of these

13   were ghost written, a practice that is at a minimum

14   inappropriate, and some courts might impose sanctions for those

15   engaging in that practice.       The Court is inclined, and will

16   endeavor to address these motions, even if ghost written, on

17   their merits.   But given the massive volume of filings from you

18   alone in a short amount of time, and given the circumstances

19   under which they were submitted, the Court will, by necessity,

20   need to address these motions and requests in a quicker fashion

21   than would otherwise be the case.        There were a number of

22   specific motions by you I was going to raise, give you a chance

23   to say anything on your behalf on them, and then give

24   plaintiffs a chance to respond.

25             First I'd like to address three related motions filed
                                                                             11
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 1   by Mr. Cantwell.     These are docket numbers 1066, 1085, and

 2   1088.   They broadly raise -- relate to different arguments.

 3   Mr. Cantwell advances that discrimination against those who are

 4   Jewish is not a form of class-based, invidiously discriminatory

 5   animus prohibited by 1985(3), the statute at issue.        For that

 6   view, Mr. Cantwell relies on a Fourth Circuit decision that was

 7   reversed and vacated by the Supreme Court.       But I note the

 8   prior published Fourth Circuit precedent like Ward v. Connor

 9   concluded that religious discrimination being akin to invidious

10   racial bias falls within the ambit of 1985(3).       Subsequent

11   cases of the Fourth Circuit have continued to cite Ward v.

12   Connor for the proposition that the Fourth Circuit has

13   determined that 1985 -- Section 1985 extends to religious

14   discrimination, as well as race.

15                My question to you, Mr. Cantwell:    Is there any

16   opinion you can point to in the Fourth Circuit that is still

17   good law and hasn't been reversed?

18                MR. CANTWELL:   Well, you know, unfortunately I'm

19   completely unprepared for this.      Nobody told me that this was

20   happening.     I haven't even been able to look at my own motion

21   in some period of time.

22                My understanding of the -- I don't have the case law

23   to cite you.     My understanding of 1985(3) is that it's -- at

24   least the legislative intent of it, and as it was practiced for

25   some period of time, is to prevent the -- the -- the incidence
                                                                             12
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 1   of slavery, and the idea behind it --

 2                THE COURT:   Well --

 3                MR. CANTWELL:   If I could just get out what my

 4   understanding of it is, and then you can tell me I'm wrong.

 5   It's fine.

 6                THE COURT:   Well, no, I don't have to tell you you're

 7   wrong.     I'm telling you the Fourth Circuit said you're wrong.

 8   And, you know, that's the -- that's really the end of it.

 9   There's nothing -- even if I totally agreed with you, I can't

10   disagree with the Fourth Circuit.      So that's -- you know,

11   there's no need, you know, for us to argue those things,

12   really.

13                Next we have your objections to the witness list.

14   You seek to preclude testimony of 47 of plaintiffs' witnesses

15   under Federal Rule 37 because the plaintiffs did not disclose

16   the witnesses in a timely manner.      I have reviewed the

17   pleadings and plan to rule that most of the witnesses do not

18   need to be excluded because the plaintiffs disclosed them in

19   accordance with the Court's deadlines; however, the plaintiffs

20   have admitted they did not disclose ten of these witnesses on

21   time.     They have agreed to remove six of them from the witness

22   list.     And I plan to hold that the plaintiffs' late disclosure

23   for one of them was harmless because they only planned to call

24   the witness as an authenticating witness.

25                However, there are three witnesses who the plaintiffs
                                                                             13
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 1   did not disclose on time, but who the plaintiffs say they have

 2   made available for deposition.        These witnesses are Melissa

 3   Elliott, Larry Sabato, and Sean Webster.        I would like to hear

 4   argument on those witnesses.

 5                MR. CANTWELL:     From my perspective, I don't know when

 6   these witnesses were disclosed to everybody else, but as I

 7   think you're aware, I was left completely in the dark for 14

 8   months.

 9                THE COURT:     Well, Mr. Cantwell, we're aware of your

10   circumstances.     We're doing the best we can to work with you,

11   work with your problem.        And anything the Court has been able

12   to do, we've done.        And we are where we are, and the facts are

13   what they are.

14                So does the plaintiff wish to speak to these three

15   witnesses?

16                MR. BARKAI:     Your Honor, this is Yotam Barkai of

17   Kaplan Hecker & Fink.        I'd like to briefly address these three

18   witnesses.     Your Honor, plaintiffs have made witnesses Elliott,

19   Sabato, and Webster available for deposition, which under the

20   Fourth Circuit case law cures the prejudice, insofar as any

21   prejudice might exist from the timing of the disclosure.           It

22   cures that prejudice by enabling Mr. Cantwell to take the

23   deposition of those witnesses at this time.        So while we did

24   disclose those witnesses, once we became aware that we may want

25   to seek their testimony at trial, we also believe that, insofar
                                                                             14
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 1   as any prejudice might exist, we have cured that prejudice by

 2   making those witnesses available for deposition now.          We --

 3                Yes, Your Honor?

 4                THE COURT:    I'm sorry.   Go ahead.   Finish.   I didn't

 5   mean to interrupt.

 6                MR. BARKAI:     I was just going to add, Your Honor,

 7   that as the Court observed, we have been doing everything that

 8   we possibly can to get Mr. Cantwell notice of every witness as

 9   soon as we can.     We have been doing everything in our power to

10   serve him with all documents and all notices as soon as we can.

11   And no other defendant has objected to any of our witnesses on

12   our list, any of our deponents, any of the designations on our

13   list.   Mr. Cantwell is the only one.

14                MR. CANTWELL:    Mr. Cantwell is the only one who was

15   left in the dark for 14 months.         I got -- at the Grady County

16   Jail, I received -- from the postal mail from the Grady County

17   jail staff -- this list of witnesses that they would make

18   available for deposition.        I had mailed a response to that to

19   the Court.     And I don't remember the precise dates because,

20   again, I was stripped of all my papers for the fourth time in a

21   year.   What I got was a printed email from Michael Bloch

22   saying, Get back to me by this date if you want to depose these

23   witnesses.     And by the time I had gotten that notice, the time

24   had already passed.        And then immediately after that, Grady

25   County sticks a cotton swab up my nose and tells me I'm
                                                                             15
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 1   leaving.     And here I am.     So the idea that I had a chance to

 2   depose these witnesses -- I don't even know what these

 3   witnesses are testifying to.         What question would I ask them,

 4   were I to depose them, because this comes completely out of the

 5   blue?

 6                THE COURT:     Okay.   I'll ask plaintiffs' counsel

 7   again:     What is the general nature of the testimony of these

 8   three witnesses?

 9                I think counsel disappeared from my screen.         I'm not

10   hearing anything.        What I hear is garbled.

11                MR. LEVINE:     Can you hear me now?      Is that better?

12                THE COURT:     Somewhat.

13                MR. LEVINE:     I'm sorry, I'm not sure what the

14   technology issue is, but I'll try to speak as clearly as I can.

15                MS. DUNN:     Your Honor, given the technological

16   difficulties, would it be okay to table this issue?            And I

17   think we -- it would enable us to discuss this issue

18   internally.

19                THE COURT:     Table it like till tomorrow, you mean?

20                MS. DUNN:     Yeah, until tomorrow.

21                THE COURT:     Okay.

22                MR. BARKAI:     Your Honor, I apologize for the

23   technical difficulties.

24                THE COURT:     Well, okay.   All right.    Mr. Cantwell has

25   also moved for an order barring historical evidence about the
                                                                             16
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 1   Holocaust especially, the expert testimony of Dr. Lipstadt,

 2   citing Rules 403 and 702.

 3             I anticipate denying this motion.       The plaintiffs

 4   have -- will have to prove that defendants were motivated by

 5   racial animus, and that defendants entered into an agreement

 6   with one or more specific co-conspirators to engage in racially

 7   motivated violation.     Much of plaintiffs' evidence must

 8   necessarily take the form of communications between defendants,

 9   as well as evidence of what those communications were meant to

10   convey and how they were received.     As the Court explained in

11   its memorandum opinion at docket 941, historical context is

12   admissible to aid the jury in deciding the rhetoric and symbols

13   used by defendants.    Of course, defendants remain free to

14   object at trial should the usefulness of such testimony become

15   eclipsed by the risk that it will induce jurors to make a

16   decision that is on an improper basis.

17             Okay.   I wanted to just say a few words about how I

18   normally handle court.    You know, we're planning to open at

19   9:30 for the days we're picking the jury.      And just as a matter

20   of protocol, I generally have sort of a formal opening of court

21   where everyone rises and stands and the bailiff does the

22   opening one time at the opening of trial.      But after breaks and

23   lunch, generally I just ask the bailiff to call court to order

24   and ask people to take their seats.      In particular, this many

25   people it's going to require that you take your seat promptly
                                                                             17
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 1   so we don't waste a lot of time.

 2             I will say if you have any matters you need to take

 3   up with the Court that the jury shouldn't hear, let me know

 4   before we go back into court so we can hold the jury up and not

 5   have them come in until they're ready to hear whatever is going

 6   on in the court.

 7             I stop court generally at 5:00 or a few minutes

 8   before.   I usually tell the jurors when they come that they can

 9   count on leaving by 5:00 so that -- most of them have family

10   responsibilities, and they like to know generally when they're

11   going to be able to go home and have their families know when

12   to expect them.    So don't put witnesses on and expect that

13   we're going to stay till 5:30 or 6:00 or later to finish with a

14   particular witness.    If you have a witness who has to get out

15   of town by a certain time, be sure to call the witness in time

16   for the witness to complete his or her cross-examination --

17   examination and cross-examination.

18             All right.    Are there any other matters you wish to

19   take up now?   Plaintiffs?

20             MR. CANTWELL:      Judge --

21             THE COURT:    Mr. Cantwell, is that you?

22             MR. CANTWELL:      That's me.   I started speaking and you

23   said "plaintiffs," so I stopped.

24             THE COURT:    You may speak.

25             MR. CANTWELL:      Well, one of those motions in limine
                                                                             18
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 1   that I had is to permit me to have court clothes; and to bar

 2   argument, evidence, and testimony about my current incarcerated

 3   status.     And I don't know if this is an appropriate time to

 4   address that.

 5                THE COURT:   Well, yeah, we can address it now.     I

 6   don't know that your status is relevant.      I understand you need

 7   access to some civilian clothing.

 8                MR. CANTWELL:   Well, I can have clothing delivered.

 9   I'm sorry, I didn't mean to interrupt you.        I thought you were

10   done.

11                I can have clothing brought about.     I can have that

12   done.     I just need to have it shipped to the jail, if that's

13   okay.     And then, of course, when I'm in the courtroom, I know

14   for my criminal trial there was some question that we had to

15   deliberate about my handcuffs and that sort of thing.

16                THE COURT:   Well, we'll take that up with the

17   marshals.     I mean, we'll try to be circumspect and not show

18   that to the jury.     But I'll have to take that up with the

19   marshal, that particular situation.

20                MR. CANTWELL:   Okay.

21                MR. BLOCH:   Judge, this is Michael Bloch from the

22   plaintiffs.     May I respond to that -- on that issue?

23                THE COURT:   Yes.

24                MR. BLOCH:   Thank you, Judge.

25                As we noted in our papers, we have no issue at the
                                                                             19
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 1   outset as to not mentioning Mr. Cantwell's incarceration or his

 2   wearing court clothes.     We agree that, all things being equal,

 3   those particular issues shouldn't be relevant, and we have no

 4   intention of raising it.

 5             The one point I wanted to note is that there is at

 6   least one way in which we believe Mr. Cantwell could

 7   theoretically open the door to that issue.       And if, in fact --

 8   Mr. Cantwell, as you know, has raised a number of issues

 9   regarding the manner in which his incarceration has, in fact,

10   impacted his ability to litigate this case; including many,

11   many motions about not having received documents from

12   plaintiffs and from defendants, which, of course, is primarily

13   a function of the fact that he was incarcerated.       We believe

14   that issue is similarly irrelevant to the issues at trial, and

15   so should be precluded in any event; but just wanted to raise

16   for the Court that to the extent Mr. Cantwell wants to raise

17   issues about the manner in which his incarceration have

18   negatively impacted his ability to raise the case, and should

19   Your Honor permit that sort of evidence and testimony, it would

20   be our position that in that event his incarceration would

21   become relevant to the issues at trial, and we would -- and we

22   would like to raise them.

23             THE COURT:     Well, I mean, I wouldn't anticipate,

24   Mr. Cantwell, that you're going to be telling the jury that

25   you're in jail and that's why you're not well prepared, are
                                                                             20
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 1   you?

 2                MR. CANTWELL:   Yeah, I don't imagine that that would

 3   be -- I don't imagine that those particular words would fall

 4   out of my mouth.     I imagine that it could become conspicuous

 5   that I have no idea what's happening, because I don't.        And

 6   that could absolutely, you know --

 7                THE COURT:   Early on, didn't you have a lawyer in

 8   this case?

 9                MR. CANTWELL:   Yeah.   As I said in prior filings, you

10   know, during the time I was represented by counsel, I left this

11   in capable hands.     And I never expected this thing to get to

12   trial, frankly.     When my separation from them occurred, I was

13   not debriefed in any sense.       And I don't know how much I want

14   to say about that, because I've been warned if I say too much

15   about it, then I'm waiving my attorney-client privilege.

16                THE COURT:   Okay.   Well, no, I'm just saying I don't

17   know how you would bring it up or why you would bring it up;

18   but if you do, the Court would allow whatever is appropriate by

19   way of response from the plaintiffs.       I just can't anticipate

20   now what the situation will be.       It's just you're forewarned

21   that if you start bringing up those issues, it's very well that

22   your present incarceration may come out legitimately in the

23   case.

24                MR. CANTWELL:   I understand the concept of opening

25   the door.    I get that, yes.
                                                                             21
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 1              THE COURT:     Right.

 2              Okay.   Anyone else?      Let's go back to the plaintiff.

 3   Do the plaintiffs have any -- any other issues they'd like to

 4   take up today?

 5              MS. DUNN:    Yes, Your Honor.      We have two issues.   One

 6   is further to Mr. Cantwell's earlier request to exclude the

 7   three witnesses on the plaintiffs' list that have not yet been

 8   deposed:   Witnesses Elliott, Sabato, and Webster.        We tend to

 9   agree that because these witnesses have not been deposed and

10   we're five days from trial, that they ought not be able to

11   testify.   So we will withdraw those witnesses.

12              THE COURT:     All right.     Thank you.

13              MS. DUNN:    You're welcome.

14              And then our second issue is -- this is concerning

15   only opening statement -- somewhere between seven to nine of

16   the plaintiffs would like to attend the opening statement.          And

17   so we would ask the Court's dispensation only for the opening

18   for us to be able to have between 12 and 14 people in the

19   Court, which includes four counsel, the trial tech, and the

20   plaintiffs who wish to attend.         And then they would leave

21   immediately after the openings.

22              THE COURT:     Okay.    I'll take a look at that, because

23   we -- you know, we're being very careful to have the proper

24   social distancing.      You know, we'll have to take a look at that

25   and talk maybe Friday when we're there.
                                                                             22
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 1             How many did you agree that you would have in the

 2   courtroom, lawyers and parties, to begin with?

 3             MS. DUNN:     So we affirmatively suggested nine for the

 4   plaintiffs' side.     I don't know that there has been a precise

 5   limit on the defense side.

 6             THE COURT:     Well, it's pretty hard on the defense

 7   side because --

 8             MS. DUNN:     Right.   We understand.   So Your Honor, we

 9   appreciate your consideration of this request.       It is important

10   to the plaintiffs to be able to attend.       And this, again, just

11   concerns only the opening statement, and I guess perhaps the

12   closing argument, but would concern no other time during this

13   trial.

14             THE COURT:     Okay.   All right.   Any other matter?

15             MR. SMITH:     I'm sorry, Your Honor.    Your Honor, this

16   is Josh Smith.

17             THE COURT:     Yes, sir.

18             MR. SMITH:     Yes.    I just wanted to say I know that

19   Your Honor said you wanted to table that for tomorrow, and of

20   course I'm sure it will get discussed tomorrow.       If the

21   Court -- if the Court is okay with that, I'm not opposed to the

22   plaintiffs doing that if the Court -- if it's acceptable to the

23   Court.

24             THE COURT:     Okay.   Well, the only concern we have, of

25   course, is we have a limited courtroom, limited air, and that
                                                                             23
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 1   sort of thing.     As long as we don't get too far out of line

 2   regarding COVID, we'll do what we can.          But we have tried

 3   cases, and it's always an exception after exception.           And after

 4   awhile, the Court can fill up.           We can't do that, because we do

 5   promise the jury that we're going to, you know, follow

 6   protocol.

 7                MR. SPENCER:     Your Honor, will we be making

 8   vaccination statuses public of the plaintiffs?           I mean, I think

 9   that's relevant in the sense of packing them in during the

10   opening statements.

11                THE COURT:     Well, we have the -- we have, you know,

12   that vaccination thing worked out, and that applies to

13   everyone.

14                MR. SPENCER:     I'm just around people who are older,

15   and I take COVID very seriously.

16                THE COURT:     Well, I'm older myself.     I take it very

17   seriously.     Okay.   We sent out -- for anyone attending in

18   person on Friday, please get in COVID attestation forms

19   submitted to the Court.

20                MR. SPENCER:     Okay.   I am fully vaccinated and I can

21   prove that.     I will be participating via Zoom on Friday, but I

22   will be in person on Monday, and I've sent that information to

23   Heidi Wheeler.     It is simply a matter of travel and logistics,

24   but I will be there on Monday.

25                THE COURT:     All right.     But anyway, to answer your
                                                                             24
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 1   question, I mean, everyone has to comply with the attestation,

 2   okay?

 3              All right.     Anything else?   I'm not trying to rush

 4   anybody.

 5              MR. CANTWELL:     I am completely unfamiliar with what

 6   we're talking about.      I'm not sure what word you're using,

 7   COVID attestation, is that what -- I don't know what you're

 8   talking about.

 9              THE COURT:     Well, you don't have to worry about it.

10   I think the marshal service is handling whatever you need to

11   do.

12              MR. CANTWELL:     You know, I realize there's probably a

13   limited time here.      I don't know how much I should go into.     I

14   still haven't seen an exhibits list from anybody, my

15   co-defendants nor the plaintiffs.

16              THE COURT:     Well, can anyone help him out with that?

17              MR. SPENCER:     Mine is on Box.com, and I'd be happy to

18   give him a hard copy in person.       I don't know if he can accept

19   email in prison, but I would be more than happy to send him an

20   email.

21              THE COURT:     Okay.   Who is speaking?

22              MR. BARKAI:     Your Honor, Yotam Barkai for plaintiffs.

23   We're happy to communicate with Mr. Cantwell and give him

24   whatever he needs.      Again, we've been serving him throughout

25   this period at each of the various facilities that he's been
                                                                             25
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 1   transferred between.      We understand that there have been some

 2   logistical complications, and we've actually been making an

 3   effort to serve multiple times.        So we served on him a large

 4   volume of material for a second time after he was moved the

 5   first time.     We served him a large set of material that we

 6   thought -- that may not have made it to his former facility in

 7   Marion.     We served that to him again.    We're going to do the

 8   same thing here, which is serve him with all of the material

 9   that we have served him before, but just in an abundance of

10   caution, we just want to make sure that we serve it on him

11   again.     We're going to do that this week.    Otherwise, we're

12   happy to meet with Mr. Cantwell to discuss the exhibit list

13   issue.

14                And we understand that Mr. Cantwell has filed a set

15   of motions recently that has been docketed over the last couple

16   of days.     And if the Court would be amenable, we'd also like to

17   file just a short response addressing that set of motions.

18                THE COURT:   All right.

19                MR. CANTWELL:   For whatever it's worth, I understand

20   that the plaintiffs have gone to some degree of effort to get

21   these things to me, but my understanding of the procedural need

22   for me to have them is that I have them in advance of the

23   trial.     And now we're talking about me maybe getting an

24   exhibits list as we walk into the courtroom.        And it seems to

25   me that this is both in favor of my repeated request to delay
                                                                             26
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 1   the trial because I'm not prepared, and I can't be expected to

 2   be prepared if the United States government is preventing me

 3   from preparing for trial.

 4                THE COURT:   Well, like I said, we're doing the best

 5   we can with what we've got.      The facts are what they are.

 6   We've got over 25 parties, I think, in this case.        We do -- we

 7   do -- have ordered, Mr. Cantwell, a computer for you in the

 8   courtroom.     So you will have access to the exhibits there.         I

 9   know you're saying you need them before, and it sounds as if

10   counsel for plaintiff is trying to do what he can to help you

11   with that.

12                MR. CANTWELL:   And I appreciate the effort of

13   plaintiffs' counsel.      I genuinely do.   Mr. Bloch and I have

14   actually been pretty cooperative on this.       The problem that

15   we're having now is that my trial preparation has been

16   obstructed by the government of the United States and the

17   United States Penitentiary in Marion, Illinois.       They gave me

18   this hard drive with thousands of files on it in April.         Two

19   weeks later the marshals took it away from me, and I didn't get

20   it back until September.      And now we're talking about walking

21   into a courtroom where in the courtroom as we're at trial, then

22   I get to figure out what the evidence is.       And that's

23   definitely not fair.      You know, I don't have the case law in

24   front of me here.

25                THE COURT:   Well, it's certainly not -- not the way
                                                                             27
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 1   things ought to be.       But, you know, you had counsel.    I take it

 2   you discharged counsel.       And as I say, there are ten

 3   plaintiffs -- ten or more plaintiffs in the case.        I think

 4   there are probably -- as many as 20 named defendants,

 5   organizations and persons.       There's never going to be a good

 6   time to try this case, and somebody is always going to be

 7   having a problem.

 8                Mr. Fields, he's still in -- he's the principal

 9   defendant in the case, it appears to me, and he's locked up

10   somewhere in Illinois, I believe.       But he does have counsel.    I

11   mean, we're just going to have to do the best we can with

12   the --

13                MR. CANTWELL:   He has counsel.

14                THE COURT:   Well, I mean, I assume you could have

15   counsel, too, or you had counsel.

16                MR. CANTWELL:   You think I can have counsel?

17                THE COURT:   Well, you had counsel and you discharged

18   him, I thought.

19                MR. CANTWELL:   Well, the details of that are pretty

20   well documented.     I was bankrupted by this process a long time

21   ago.     They moved to withdraw.    And this was -- you know, I

22   think that was the subject of some controversy back in the

23   summer of 2019.     If I had been kept in the loop from the summer

24   of 2019 until April of 2021, we wouldn't be having this

25   conversation.     The problem is that while I was incarcerated,
                                                                             28
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 1   the plaintiffs were sending everything to my email address that

 2   I couldn't check.    And this was -- they kept updating the Court

 3   on the progress of my case.     When I was denied bail, they made

 4   filings with the Court.     When I was convicted, they made

 5   filings with the Court.     When I was sentenced, they made

 6   filings with the Court.     And the whole time they were saying,

 7   Oh, we didn't realize that we were sending all the

 8   correspondence to a Gmail address to a man who is incarcerated.

 9   They were the first ones to notify the Court when I got

10   arrested.   The same day I got arrested, they told the Court

11   that I was arrested.     And the whole time they knew I was in

12   jail and they were sending it to my email address.        And then

13   when I object to a deposition they say, Oh, well, he should

14   have known this, except that we didn't send it to him.        So

15   we'll send a two terabyte encrypted hard drive to an

16   incarcerated man, and that will solve the problem.        And I said

17   at the time that that didn't solve the problem.       It doesn't

18   solve the problem that you give me two terabytes of data.          It

19   doesn't solve the problem that you give me thousands and

20   thousands of files when I'm in jail and I can't look at them.

21   And then less than three weeks later, the marshals take it away

22   from me.    That's what happened.   So this is not a situation

23   where I could have done something that would have fixed this

24   problem.    That's not what happened.    For --

25               THE COURT:   Well, some of the problems resulted from
                                                                             29
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 1   the Court granting your motion for transportation to

 2   Charlottesville.     I suppose if you had stayed where you were,

 3   you may have received more of these pleadings.        But you will

 4   have access to the computer and the exhibits Friday -- at

 5   Friday's pretrial conference when we're in court in

 6   Charlottesville.

 7              MR. CANTWELL:    I suppose I'm fortunate to have that

 8   much.   My objection that I still have -- and I don't know what

 9   that means, but I'll stop talking now.        Thank you.

10              THE COURT:    Okay.   Thank you.

11              All right.    Does anyone have any other matter they

12   would like to bring up at this time?

13              MR. SMITH:    Just a real quick question, Your Honor.

14   Josh Smith again.     Just wondering if for the Friday -- for the

15   Friday pretrial conference, are we able to attend that by Zoom,

16   if it's necessary?

17              THE COURT:    Well, I have no objection.        It would be

18   helpful -- just a minute.

19              It would be helpful I think to you, if you haven't

20   been in the courthouse --

21              MR. SMITH:    Of course.   I was -- you know, I wanted

22   to familiarize myself with everything, you know, a couple of

23   days before.   I just -- it seems like -- I'm not saying that

24   I'm sure that I won't be there, but it's possible I might not

25   be able to make it.
                                                                             30
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 1               THE COURT:     That will be fine.

 2               MR. SMITH:     Thank you, Your Honor.

 3               THE COURT:     Anyone else have any matter they would

 4   like to discuss now before Friday?

 5               MR. SANCHEZ:     Your Honor, Giovanni Sanchez on behalf

 6   of the plaintiffs, Paul Weiss.          One thing I wanted to raise in

 7   the interest of potentially streamlining things at trial is our

 8   motion, ECF 1238.     In that motion we asked the Court to

 9   voluntarily dismiss certain plaintiffs' claim against Defendant

10   Fields.     That's the claim for negligence per se.       As we say in

11   that motion, we obtained consent of every defendant who has

12   responded, and we reached out to every -- every defendant in

13   the case.    We think the factors weigh in favor of granting that

14   motion, and that it would really streamline things at trial.

15               THE COURT:     Okay.   If no one has an objection --

16               MR. SMITH:     No, Your Honor.

17               MR. SPENCER:     No.   No objection.

18               THE COURT:     Okay.   It will be -- the motion will be

19   granted.

20               MR. SANCHEZ:     Thank you, Your Honor.

21               THE COURT:     Okay.   Anything else?

22               MR. CAMPBELL:     Your Honor, David Campbell.

23               THE COURT:     All right.     Mr. Campbell?

24               MR. CAMPBELL:     Your Honor, there was some mention --

25   I'm aware of Friday's hearing, but then there was some talk of
                                                                             31
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 1   passing something over till tomorrow.        Is there --

 2                THE COURT:    No, there's nothing tomorrow.      Someone

 3   misspoke, I think.

 4                MR. CAMPBELL:    Great, Your Honor.

 5                And then the only other thing we could either take up

 6   today or possibly Friday, but just to kind of let us prepare

 7   better on the defense side, I was wondering what the Court's

 8   pleasure was as far as the order of openings or cross, that

 9   kind of stuff, for all of the defendants.

10                THE COURT:    Well, unless the defendants get together

11   and agree to another procedure, my procedure would be to go

12   down the list in the order in which the defendants are listed

13   in the complaint.

14                MR. CAMPBELL:    That was my thought as well, Judge.

15   Okay.   Just wanted to make sure, absent something else, we were

16   going to go in the order of the pleading.

17                THE COURT:    Okay.   Anything else?

18                MR. BARKAI:     Your Honor, the Court had previously --

19   argument to be held on ECF 1152, which was plaintiffs' motion

20   to exclude trial witnesses now previously disclosed in

21   discovery.     We're happy to rest on our papers as to that

22   motion, or to address that now or on Friday, as the Court would

23   like.

24                THE COURT:    Wait a minute.   I'm sorry.     Ms. Dunn, are

25   we on the same page here?
                                                                             32
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 1                MS. DUNN:     Yes, Your Honor.   As to the witnesses that

 2   have not been deposed at this time, those are withdrawn,

 3   because we are five days from trial.          So if there is a witness

 4   that has not been deposed, they should not testify.

 5                MR. BARKAI:     I'm sorry, Your Honor.    I was referring

 6   to plaintiffs' motion, not Mr. Cantwell's motion.          It's

 7   plaintiffs' motion to exclude Mr. Cantwell's witnesses.           As I

 8   said, plaintiffs --

 9                THE COURT:     Oh, well, I mean, which witnesses are

10   they?   I mean, some of the witnesses he asked for were beyond

11   the jurisdiction of the Court, and could not be -- I mean, we

12   have no jurisdiction to order them here.

13                MR. BARKAI:     This is a motion involving six witnesses

14   on Mr. Cantwell's witness list who were not disclosed during

15   discovery.     It's ECF 1152.     And this is Frey, Platania, Shular,

16   Wolf, Minton, and Pleasants.

17                THE COURT:     Have they been subpoenaed?

18                MR. BARKAI:     I am not aware of that, Your Honor.     So

19   it may be that it's a moot point, depending on whether that's

20   the case or not.

21                THE COURT:     I don't think -- we requested subpoenas

22   for three witnesses, but they were beyond the jurisdiction of

23   the Court.

24                Mr. Cantwell, are there any witnesses that you

25   anticipate would appear at the trial?
                                                                             33
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 1                MR. CANTWELL:   Well, you know, I don't know, sir.

 2   And I haven't seen the motion that we're talking about, so I'm

 3   not in any position to respond to it.        I understand that some

 4   of the witnesses are beyond the 100-mile radius.         Again, the

 5   issue here is that I mentioned these people when I found out

 6   that I had been left in the dark for 14 months.        I said, this

 7   completely changes things.        I want to depose these people.      The

 8   discovery deadlines have ended.        And then I was picked up by

 9   the marshals and trucked around by the United States government

10   and deprived of all my papers.        So that's where I am.

11                THE COURT:   Okay.   Well, I mean, any witness who has

12   not been properly disclosed, we'll take it up at the time,

13   whether there's -- you know, whether there is some excuse and

14   exception that would allow them to testify.        But I don't think

15   we need to go into it now, because it doesn't appear likely

16   that any such witnesses will appear.

17                All right.   Anyone else have any matter?

18                MR. CANTWELL:   If I could clarify something from

19   earlier, sir.     You mentioned three motions by their ECF

20   numbers.     I'm not privy to those once I send them off to the

21   Court.     You said, I think, 1066, 1085, and 1088.      Were those

22   the three that you mentioned earlier when you mentioned the

23   invidious discriminatory animus against Jews?

24                THE COURT:   I'll have to look again.

25                MR. CAMPBELL:   Judge, this is Dave Campbell.     That's
                                                                             34
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 1   correct from my notes.      1066, 1085, and 1088 were the docket

 2   numbers.

 3               THE COURT:   1066, 1085, and 1088.

 4               MR. CANTWELL:   Okay.   Now, again, the ECF numbers,

 5   maybe not having access to the electronic system, I'm not privy

 6   to those.    So I don't know what the headlines of each of those

 7   are.    Is 1066, I understood from what you said to be a ruling

 8   that invidious -- it is not invidious discriminatory animus

 9   against Jews.    Is 1085 Antifa and 1088 social minorities?

10               THE COURT:   1085 is bias against those who identify

11   as Jews.    Well, wait a minute.    1066 is animus -- the motion

12   for a determination that animus against the domestic terror

13   organization Antifa and other members of the woke, progressive

14   left is not a form of class-based invidiously discriminatory

15   animus prohibited by 42 U.S.C. 1985(3).        Now, that's 1066.

16               And 1088 is a motion to exclude all evidence of

17   defendants' perceived biases against those who identify as Jews

18   pursuant to Federal Rules of Evidence 401, 402, and 403.

19               MR. CANTWELL:   So that's 1066 and 1085.      1088 is?

20               THE COURT:   A motion to exclude evidence of

21   defendants' perceived bias against --

22               MR. CANTWELL:   Oh, that's 1088.     Okay.   So, you know,

23   I'd just like to point out I think that when you responded to

24   this, you told me that this Fourth Circuit rule that a

25   religious bias is included under 1985(3), but that doesn't seem
                                                                             35
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 1   to extend to left-wing political activists who make a habit of

 2   burning and looting.      And I wonder if lumping these things all

 3   together into the same decision is entirely appropriate.

 4               THE COURT:    Well, I mean, your characterization I'm

 5   not necessarily agreeing with.       I mean, we rule on motions as

 6   they come in separately.      And every motion has to stand on its

 7   own feet.

 8               MR. CANTWELL:    Well, that's sort of what I'm getting

 9   at.   So you told me about these three motions.      And what you

10   addressed when you addressed me was that the Fourth Circuit had

11   ruled that bias against Jews is covered under this statute.

12   And okay, I understand what you're saying.       If you're telling

13   me that this is a matter of religious discrimination, that does

14   not apply to left-wing political activists --

15               THE COURT:    Well, Mr. Cantwell, what I'm going to do

16   is file a written order responding to those motions.        I was

17   not -- I only responded to the one regarding the motion that

18   Jewish persons were not covered by the statute.

19               Okay.   Anything else?

20               MR. JONES:    Your Honor, Bryan Jones.   I'm counsel for

21   Michael Hill, Michael Tubbs, and League of the South.        There

22   are still some outstanding issues in a motion in limine that I

23   filed.   It's ECF 1147.     I'm happy to address those on Friday,

24   if you'd like, or we can submit additional written argument.

25               THE COURT:    I'll address them right now, if
                                                                             36
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 1   plaintiffs are prepared to respond.

 2              MS. DUNN:     I'm sorry, Your Honor.    Which motions are

 3   these, just so we can get ourselves in order?

 4              MR. JONES:     League of the South, Michael Hill,

 5   Michael Tubbs.   The filing number was 1147, a motion in limine

 6   regarding the Court taking judicial notice of Mr. Kessler

 7   securing a permit, and then a motion to exclude reference to

 8   Michael Tubbs's felony conviction.

 9              MS. DUNN:     I believe Mr. Levine is arguing these

10   motions.   So Mr. Levine, are you ready?

11              THE COURT:     Mr. Levine, are you --

12              MR. LEVINE:     I'm ready to argue the motion.

13              THE COURT:     Let Mr. Jones speak to the motion, and

14   then you respond.

15              Go ahead, Mr. Jones.

16              MR. JONES:     Thank you, Your Honor.

17              I'm requesting that the Court take judicial notice of

18   three adjudicative facts relating to Mr. Kessler's obtaining a

19   permit in advance of the rally.      That would be based on Federal

20   Rule of Evidence 201.      I'm relying on subsection A -- sorry,

21   subsection (b)(2) which says the facts that can be accurately

22   and readily determined from sources whose accuracy cannot

23   reasonably be questioned.      The sources I submitted for those

24   facts are this Court's order from August 11th, 2017, subsection

25   (c) of that rule, subsection (2) says, The Court must take
                                                                             37
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 1   judicial notice if a party requests it and the Court is

 2   supplied with the necessary information.

 3             It's our position that based on that court order,

 4   which establishes those three facts outlined in my motion, that

 5   the Court can take judicial notice because they are not facts

 6   that are -- whose accuracy can be reasonably questioned.

 7             THE COURT:   What's the relevance of the fact that --

 8   well, particularly that the city opposed -- that the city

 9   sought to withdraw the permit and the Court ordered that the

10   permit be restored?

11             MR. JONES:   Your Honor, it's my clients' position

12   that they were attempting to act in a legal and lawful manner

13   in appearing in Charlottesville.     And so --

14             THE COURT:   Well, but if it were admissible that he

15   had a permit, what difference does it make?       At the end of the

16   day he still had the permit and he still was able to have his,

17   you know, demonstration?

18             MR. JONES:   Well, Your Honor, it would be agreeable

19   if the judicial notice was simply limited to the fact that

20   there was a permit -- a valid permit issued to Jason Kessler to

21   demonstrate in the park.

22             THE COURT:   Okay.   I mean, aside from anything else,

23   I don't see any relevance to why we need to get into the side

24   issues regarding the withdrawal of the permit and then the

25   Court's action.
                                                                             38
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 1               Mr. Levine, would you speak to what would be

 2   objectionable about the Court taking notice that Mr. Kessler

 3   obtained a permit for the function?

 4               MR. LEVINE:     Your Honor, I'm not -- I don't think I

 5   was designated to argue that motion, but I would -- we have

 6   submitted a brief on the issue of the Court taking judicial

 7   notice of other facts.       And I think we would rely on the case

 8   law in that brief as to the significance of judicial notice.            I

 9   don't know why judicial -- of the Court taking judicial notice

10   should apply to Mr. Kessler getting a permit.          He can testify

11   to getting that permit, and then the plaintiffs can cross

12   examine him about that permit.          But it changes the jury's

13   understanding, I would suggest, when the Court takes judicial

14   notice of it.

15               THE COURT:     Okay.   Well --

16               MR. LEVINE:     One of my co-counsel may want to expand

17   on that, Your Honor.

18               THE COURT:     All right.

19               MS. DUNN:     My understanding of this motion is that we

20   have not yet had an opportunity to respond --

21               THE COURT:     Okay.

22               MS. DUNN:     -- in writing.     So if we need to, Your

23   Honor, we can certainly respond in writing.

24               THE COURT:     Well, there's no question that he did get

25   a permit.    No one questions that, I take it.        I mean, it's a
                                                                             39
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 1   question of relevance, maybe.        But there's no issue about him

 2   obtaining a permit, correct?

 3             MR. JONES:     That's correct, Your Honor.

 4             THE COURT:     It appears to be relevant.     I'll look

 5   into whether it's subject to judicial notice or otherwise.           But

 6   I don't think the other two matters are relevant.

 7             MR. JONES:     There was one more issue in that motion

 8   related to Mr. Tubbs's prior felony.

 9             THE COURT:     Excuse me just a minute.

10             Okay.     Go ahead, sir.     I'm sorry.

11             MS. DUNN:     Your Honor, this is Ms. Dunn for the

12   plaintiffs.   So I'm told that we have filed a response on this

13   issue of judicial notice, and that it is important because we

14   would like to cross examine Mr. Kessler about the permit.           And

15   so with the Court's permission, you know, if we need to have

16   more argument on this, we'd like to do that on Friday.

17             THE COURT:     Okay.   Anyway, we'll pass that and go to

18   the other motion.

19             MR. JONES:     Thank you, Your Honor.

20             THE COURT:     I will say to the plaintiff I have before

21   me you filed a response to League of the South's and Mr. Hill's

22   and Tubbs's motions in limine.        And there was the Heaphy

23   report, Mr. Tubbs's felony conviction, and then the facts

24   regarding Mr. Kessler's report -- permit.

25             Go ahead.     I'm sorry.
                                                                             40
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 1              MR. JONES:     Thank you.   The other issue in the motion

 2   was the admissibility of Michael Tubbs's felony conviction from

 3   1990, from 30 years ago.      The two rules that plaintiffs argue

 4   it would be admissible under are for impeachment purposes under

 5   609; however, the conviction is over 30 years ago.          So I argue

 6   that plaintiffs haven't provided sufficient written notice of

 7   their intent to do that.      The first notice I received was just

 8   several weeks ago.      And it is a significantly old conviction.

 9              The other rule is 404(b).        Plaintiffs argue that it

10   shows motive or some other issue.       My response to that is that

11   plaintiffs have only provided one certified court record

12   showing that the conviction was for some firearm-related

13   offense.   And all of the facts that would make it relevant for

14   some of those exceptions in 404(b) are not admissible, would

15   not be able to be presented to the jury based on a 30-year-old

16   newspaper article, and they are contested in any respect.           And

17   the fact that it is a 30-year-old conviction, the probative

18   value of whatever that would be, would be outweighed by

19   prejudice to my client.

20              THE COURT:     All right.   Okay.    I will say I have

21   the -- I've read your memo on that, as well as the defendants'.

22              Anything else the defendant would like to say about

23   the conviction?

24              MR. JONES:     No, Your Honor.      Thank you.

25              MR. CANTWELL:     If I could, I had a similar motion.
                                                                             41
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 1              THE COURT:    Mr. Cantwell, this one -- these are all

 2   fact-specific.     So what might apply to one doesn't necessarily

 3   apply to the other.

 4              Any other -- I misspoke.    Does the plaintiff have any

 5   response to defendants' argument?

 6              MR. LEVINE:    Yes, Your Honor.

 7              We seek to offer the prior conviction and the

 8   underlying facts under 404(b) primarily, which demonstrate

 9   Defendant Tubbs's intent to use violent means and achieve his

10   southern nationalist, racist, antisemitic agenda at Unite the

11   Right.   In Mr. Tubbs's deposition, Your Honor, Tubbs denied any

12   plan or desire for violence.     He testified he had no intent to

13   commit such violence, and he also testified that any violence

14   was self-defense.     He also equivocated on his racial animus of

15   Jews and blacks.     So Mr. Tubbs's intent to commit violence to

16   achieve his white nationalist agenda against Jews and blacks is

17   going to be squarely an issue in this case.       Squarely an issue.

18              And in 1991, Your Honor, he was arrested, indicted,

19   and ultimately pled guilty.     It was a four-count indictment.

20   He was in the Army at the time.     He was charged with theft of

21   two M16 government rifles from another soldier, and assault in

22   connection with that theft, and possession of a variety of

23   weapons and explosives.     In a search warrant executed at or

24   about the time of the arrest, there were explosives, armaments,

25   and all kinds of literature, magazines described by the Bureau
                                                                             42
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 1   of ATF as describing how to engage and wage urban warfare.         The

 2   literature was described as focused on a litany of hate against

 3   Jews, blacks, and other minorities.      And at the time of the

 4   theft, the United States attorney announced at the time of the

 5   indictment at the time of the theft the defendants, including

 6   Mr. Tubbs, when they robbed this other soldier, they ran away

 7   with the weapon saying, This is for the KKK.

 8             Now, Your Honor, this case is from the Eastern

 9   District of North Carolina.     It was transferred to the Middle

10   District of Florida where Mr. Tubbs's guilty plea was taken.

11   The archives in both federal courthouses have been closed

12   during the entire pandemic.     We have been unable to get a copy

13   of the indictment.     We have been unable to get a copy of any

14   plea allocution.     And in the deposition, Mr. Tubbs would not

15   answer basic questions about what that allocution involved.

16             So the articles that we're offering to identify and

17   prove the underlying facts, Your Honor, are a 1990 article from

18   the New York Times reporting on the arrest, which is

19   Plaintiffs' Exhibit 1926; a New York Times article from January

20   of 1991 reporting on the filing of the indictment, and that's

21   Plaintiffs' Exhibit 3464; and then the docket sheet which

22   reflects the number of counts and some of the basic facts,

23   which is Plaintiffs' Exhibit 3463.

24             And Mr. Tubbs pled guilty.      He was sentenced to

25   four-some odd years.     He got out in 1995.   He joined League of
                                                                             43
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 1   the South shortly thereafter.     And the rest Your Honor is

 2   familiar with from the motion practice in this case.        He

 3   becomes second in command of League of the South.        He leads the

 4   march that initiates all the violence on Saturday morning.

 5             So we believe this earlier conviction and the

 6   underlying facts demonstrate that Mr. Tubbs's racial animus for

 7   blacks and Jews and his intent to use violence to achieve those

 8   ends in society is essentially what the Unite the Right case is

 9   all about here.

10             THE COURT:    Well --

11             MR. LEVINE:    And Your Honor had the Johnson v. Holmes

12   case where Your Honor talked about the issues of relevance and

13   necessity under 404(b), and pointed out that the Fourth Circuit

14   has -- favors the admission of other evidence.       I would submit,

15   Your Honor, that the -- I would submit that the age here of the

16   conviction actually proves the relevance and necessity of -- of

17   those underlying facts and conviction to Unite the Right.         This

18   age, Your Honor, eclipses his adult life.      It demonstrates that

19   he has been involved in these issues, dedicated to achieving

20   his racial superiority and the white nationalist movement

21   through violent means his entire adult life.       Those newspaper

22   articles report from ATF what was found in the executing of the

23   search warrant in his house and brother's house.       And it's

24   exactly the kind of literature that these defendants in our

25   case exchanged with one another.
                                                                             44
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 1             So I would submit to Your Honor that the prior act

 2   evidence here is relevant.     In fact, it's closely related to

 3   the charge in our case here.     And in Skateway in the Fourth

 4   Circuit, and Your Honor recognized in Johnson, that this kind

 5   of evidence in a discrimination kind of case is very relevant.

 6             It's also necessary, Your Honor, because the evidence

 7   of this underlying conduct and the conviction is very relevant

 8   to prove this case, which is that this defendant and his

 9   co-conspirators sought to use violence to achieve their white

10   nationalist agenda.

11             We also have to show that this evidence is reliable.

12   As to the conviction, he's admitted the conviction and we have

13   a document for that.     As far as the underlying facts go, Your

14   Honor, under hearsay rule of ancient documents, both of these

15   news articles are ancient documents under that exception, and

16   they would come in for the truth.     They both quote statements

17   of responsible government people, the U.S. attorney, the agent

18   in charge of ATF.     So those portions of those articles, Your

19   Honor, we would propose to confront Mr. Tubbs with.        And if he

20   doesn't admit them, to offer them, Your Honor.

21             As far as the probative value goes, I think I made

22   that point, the relevance argument.      The probative value of

23   this evidence is very significant because of Mr. Tubbs's

24   equivocating on each of these issues.      And it demonstrates what

25   some of the cases talk about, Your Honor, to the lack of
                                                                             45
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 1   mistake, to the fact that Mr. Tubbs can't say, Oh, I was just

 2   engaged in this violence because somebody hit me.        Your Honor,

 3   the facts underlying the earlier conviction demonstrate that

 4   Unite the Right was simply a step in the direction of

 5   Mr. Tubbs's life.     And we would submit that the probative value

 6   of that outweighs any prejudicial -- all incriminatory evidence

 7   is prejudicial, Your Honor.       The question is whether this is

 8   unduly prejudicial.       And the underlying material demonstrating

 9   the hatred and the desire to use violence to achieve that

10   hatred is no different than what's on Discord, Your Honor, and

11   what the plaintiffs will prove throughout the trial as to

12   Mr. Hill, Mr. Tubbs, League of the South, and all of the other

13   defendants.

14                So Your Honor, that's the theory of our admissibility

15   of 404(b).     These exhibits are all on the exhibit list.     The

16   1990 document, Your Honor, was on the first iteration of the

17   exhibit list, some over a month ago.        And Mr. Tubbs has been on

18   notice of our interest in these facts because we asked

19   Mr. Tubbs about these events in his deposition in June of 2020.

20   So that would take in the 609 argument, as well as the 404(b)

21   argument.

22                THE COURT:   All right.   Mr. Jones, anything else?

23                MR. JONES:   No, Your Honor.   Thank you.

24                THE COURT:   Okay.   Well, I think the -- where in the

25   Court record are the -- I mean, there's nothing that he pled
                                                                             46
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 1   guilty to or was convicted of that necessarily shows the

 2   animus.   It's all in the newspaper articles and affidavits for

 3   search warrants?

 4                MR. LEVINE:    Exactly.    That's the problem.     We do not

 5   have access to the indictment, but the news articles --

 6                THE COURT:    Don't you have -- you have ample evidence

 7   of his animus now toward Jews and African Americans, don't you?

 8                MR. LEVINE:    Your Honor, we have ample evidence

 9   generally.     Actually, Mr. Tubbs equivocated on that issue for a

10   considerable amount of time in his deposition.         And he

11   certainly denied an intention to use violence at Unite the

12   Right in order to accomplish the means.         So his intent to use

13   violence to achieve this nationalist agenda is squarely an

14   issue in this case, Your Honor.         And he denies that the

15   violence was intended on his part.         He claims that his words in

16   documents and communications where he is hoping for violence --

17   which Your Honor quoted in the motion, in the summary judgment

18   decision -- Mr. Tubbs actually --

19                THE COURT:    Well, there's information -- I mean,

20   that's -- I mean, it seemed there was ample evidence in that

21   summary judgment motion to support your position.

22                MR. LEVINE:    If Your Honor may, at trial, Mr. Tubbs

23   is going to testify, if he does similar to his deposition --

24                THE COURT:    All right.    Let me put it this way:     My

25   inclination is that this is too old and could be unfairly
                                                                             47
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 1   prejudicial, that the prejudice would outweigh the probative

 2   value because what you have -- in this case I don't think there

 3   is much question -- there's likely to be much question but that

 4   this organization and his participation in it would indicate

 5   that there was an animus toward Jews and African Americans.

 6   But the question is:      Did they conspire?    And that's the real

 7   issue of what has to be proven.       And when you go back and load

 8   a lot of this in, the conviction itself doesn't prove anything

 9   with regard to the issues in this case.        And so I think -- I

10   think it's going to be pretty hard for me to rule on this until

11   you cross examine him.      And depending on what he says on

12   cross-examination, if he denies, you know, the animus and so

13   forth, I'll take it up then and rule whether you can proceed to

14   ask -- to bring this up.

15               MR. LEVINE:    Your Honor, that's exactly what I was

16   going to ask the Court for leave to do, given what Your Honor

17   has said.   And if the record presents itself as I expect it

18   will, then I'll approach side bar and ask the Court for a

19   ruling at that time.

20               THE COURT:    Right.   Okay.   Well, that's what I intend

21   to do, because I think it's a real stringent test here that you

22   have to -- you have to pass to get that evidence admissible.

23               All right.

24               MR. LEVINE:    I will point out, Your Honor, on the age

25   issue, the Fourth Circuit has admitted this kind of evidence in
                                                                             48
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 1   a case that's 22 years old and a case that was 40 years old.

 2   And those cases are in the brief that we filed, Your Honor.

 3               THE COURT:     All right.     Okay.   Well, we'll handle it

 4   the way I suggested.

 5               MR. LEVINE:     Thank you.

 6               THE COURT:     All right.     Any other matters?

 7               MR. CANTWELL:     Judge, I also submitted a motion in

 8   limine to exclude evidence of my prior alleged felonious

 9   conduct.    The charge that I'm serving time on right now is a

10   separate motion from the issue of my incarceration.            As I

11   mentioned, though, it's time, subject matter and distance

12   geographically, and I don't think it's relevant to the issues

13   here.    My understanding is that they can bring up the fact that

14   I'm a convicted felon, but I don't want to distract the jury

15   with irrelevant information about conduct that has no bearing

16   on this case -- in my case.

17               THE COURT:     Okay.     I haven't gotten to that motion

18   yet.    So I'll have to rule on that later.

19               Anything else?

20               MS. DUNN:     Your Honor, one small quick question from

21   the plaintiffs, which is:          The parties, as I take it, have

22   submitted preliminary instructions to the Court per the Court's

23   request.

24               THE COURT:     Yes.

25               MS. DUNN:     The question is when the Court is thinking
                                                                             49
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 1   about issuing its preliminary instructions to the parties ahead

 2   of trial?

 3               THE COURT:    Certainly before.     I would say

 4   sometime -- I'd like to get the preliminary instruction

 5   regarding -- that I will read to the jury before the

 6   prospective jurors, probably Friday.        I've looked at yours, and

 7   I would make some changes to it.        I have one that I normally

 8   give.    And then, of course, any preliminary instruction before

 9   the trial begins, I'll have that to you before.

10               MS. DUNN:    Thank you.    We can be prepared, then, to

11   talk about it on Friday, if there is anything to discuss at

12   all.

13               THE COURT:    All right.    Okay.   Anything else?

14               All right.    I appreciate you all getting together

15   today, and we'll soldier on and try to get this case resolved

16   in our lifetime.

17   (Proceedings concluded, 4:24 PM)

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 1                         C E R T I F I C A T E

 2       I, Lisa M. Blair, RMR/CRR, Official Court Reporter for

 3   the United States District Court for the Western District of

 4   Virginia, appointed pursuant to the provisions of Title 28,

 5   United States Code, Section 753, do hereby certify that the

 6   foregoing is a correct transcript of the proceedings reported

 7   by me using the stenotype reporting method in conjunction

 8   with computer-aided transcription, and that same is a

 9   true and correct transcript to the best of my ability and

10   understanding.

11       I further certify that the transcript fees and format

12   comply with those prescribed by the Court and the Judicial

13   Conference of the United States.

14       /s/ Lisa M. Blair                       Date: October 21, 2021

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